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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

MEREDITH VOLKER,

                     Plaintiff,
                                                        Case No. 8:10-cv-2883
v.

AMERICAN CORADIUS
INTERNATIONAL LLC,

                     Defendant.
                                            /

                         NOTICE OF PENDING SETTLEMENT

       Defendant, American Coradius International LLC, by and through its undersigned

counsel, hereby submits this Notice of Pending Settlement and states that the parties have

reached a verbal settlement with regard to this case and are presently drafting, finalizing,

and executing the settlement and dismissal documents. Upon execution of the same, the

parties will file the appropriate dismissal documents with the Court.

                                          Respectfully submitted,


                                          /s/ Dayle M. Van Hoose
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                                                                                  Attorneys for Defendant,
                                                                                  American Coradius International LLC


                                                                  CERTIFICATE OF SERVICE

             I hereby certify that on the 14th day of February 2011, a copy of the foregoing was

served electronically via CM/ECF on the following:

                                                         Alex D. Weisberg, Esq.
                                                        Weisberg & Meyers, LLC.
                                                   5722 South Flamingo Road, Suite 656
                                                         Cooper City, FL 33330


                                                                                  /s/ Dayle M. Van Hoose
                                                                                  Attorney

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